         Case 8-20-08052-ast          Doc 56      Filed 03/29/22        Entered 03/29/22 21:42:31




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                   :
    In re:                                                         :   Chapter 11
                                                                   :
    ORION HEALTHCORP, INC.1                                        :   Case No. 18-71748 (AST)
                                                                   :
                                          Debtors.                 :   (Jointly Administered)
                                                                   :
                                                                   :
    HOWARD M. EHRENBERG IN HIS CAPACITY                            :   Adv. Pro. No. 20-08052 (AST)
    AS LIQUIDATING TRUSTEE OF ORION                                :
    HEALTHCORP, INC., ET AL.,                                      :   [Reply Affidavit of Jeffrey Nolan;
                                                                   :   Filed Concurrently Herewith]
                                             Plaintiff,            :
                                                                   :
    v.                                                             :
                                                                   :
    ABRUZZI INVESTMENTS, LLC; JOHN                                 :
    PETROZZA,                                                      :
                                                                   :
                                             Defendants.           :
                                                                   :
                                                                   :


                      REPLY BRIEF IN SUPPORT OF PLAINTIFF’S
                    MOTION FOR SUMMARY JUDGMENT, OR IN THE
                 ALTERNATIVE, SUMMARY ADJUDICATION AS AGAINST
             DEFENDANTS ABRUZZI INVESTMENTS, LLC AND JOHN PETROZZA




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.
         Case 8-20-08052-ast                 Doc 56         Filed 03/29/22              Entered 03/29/22 21:42:31




                                                TABLE OF CONTENTS


                                                                                                                                 Page

I.      SUMMARY OF ARGUMENT ON REPLY ........................................................................... 1

                 The Motion Propery Identified A Predicate Creditor With A Claim In
                 Excess of $100,000,000 as Against All Debtors In Existence Prior
                 To The Transfer ........................................................................................................... 3

                 Defendants Make No Effort To Rebut The Undisputed Facts And Case
                 Law Establishing The Funds In The IOLA Account Were The Debtor’s
                 Property, Or An Account Which The Debtor Maintained A Legal
                 Or Equitable Interest .................................................................................................... 4

                 i.          At All Pertinent Times, The Monies in the IOLA Account Were
                             Reflected in Communications, Financial Records and Audited
                             Returns As An Asset and Debt of the Estate. .................................................. 5

                 ii.         Debtors' Monies were Directly Deposited into IOLA Account
                             To Pay Legitimate and Illegitimate Purposes. ................................................. 5

                 iii.        The 2017, Proceeds From the Go-Private Transaction Were Funded
                             in Part by the Debtors Borrowing $130,000,000 Which Were
                             Deposited into IOLA Account. ........................................................................ 6

                 The Opposition Desperately Attempts to Throw Out All Evidence
                 Attached to the Affidavits of Sartison, Wong and Lazzara Without
                 Identifying To The Court The Document and the Indicia of Unreliability.................. 7

                 i.          Sartison Affidavit (Dkt. No. 41): ..................................................................... 7

                 ii.         Wong Affidavit (Dkt. No. 40): ........................................................................ 7

                 iii.        Frank Lazzara Affidavit (Dkt. No. 42): ......................................................... 10

                 The Opposition Admits The Defendants Were the “Initial Transferee”.................... 12

                 The Claim That Defendants Were Intended to Be A “Mere Conduit”
                 For the Second Payment To Sunshine Star, LLC Is A Poor Explanation,
                 Not A Defense............................................................................................................ 13

                 The Law Places The Burden On The Initial Transferee Who Has The Best
                 Opportunity To Uncover The Irregularity In the Conveyance .................................. 16




DOCS_LA:342816.4 65004/003                                        i
         Case 8-20-08052-ast                   Doc 56          Filed 03/29/22              Entered 03/29/22 21:42:31




                  Even Under a Scenario As Defendants Claim Where They Are A
                  “Subsequent Transferee” under 11 USC §550(a)(2), Defendants Did Not
                  Take For Value and In Good Faith ............................................................................ 17

                  i.         Good Faith ..................................................................................................... 17

                  ii.        Value .............................................................................................................. 20

                  The Creation Of Fake Acquisitions, Corporations, And Corporate Documents
                  Designed To Misstate Assets And Divert Funds Of The Estate Away From
                  Legitimate Creditors Is A Text Book Case Of An Intentional Fraudulent
                  Conveyance ................................................................................................................ 21

                  i.         Fraudulent Intent Established By Bad Acts ................................................... 21

                  ii.        Fraudulent Intent Established Under Badges of Fraud .................................. 23

        I.        NYDCL § 273-a, Expressly Prohibits the Transfer of Monies to Third
                  Parties For No Consideration To The Estate When Lawsuits and
                  Judgments Against the Debtors Are Pending ............................................................ 27

II.     CONCLUSION ...................................................................................................................... 29




DOCS_LA:342816.4 65004/003                                          ii
           Case 8-20-08052-ast                    Doc 56          Filed 03/29/22             Entered 03/29/22 21:42:31




                                                   TABLE OF AUTHORITIES


                                                                                                                                            Page

                                                                     Cases

166 Mamaroneck Ave. Corp. v. 151 E. Post Rd. Corp.
  78 N.Y.2d 88, 575 N.E.2d 104, 571 N.Y.S.2d 686 (1991), aff'd sub nom. ................................... 22
9281 Shore Rd. Owners Corp. v. Seminole Realty Corp. (In re 9281 Shore Rd. Owners Corp.)
  187 B. R. 837 (Bankr. E.D.N.Y. 1995) ............................................................................................ 3
Adelphia Recovery Trust v. Bank of Am., N.A.
  624 F. Supp. 2d 292 (S.D.N.Y. 2009)............................................................................................ 23
Am. Media, Inc. v. Bainbridge & Knight Labs., LLC
  135 AD3d 477, 22 N.Y.S.3d 437 (1st Dept 2016 .......................................................................... 19
Am. Title Ins. Co. v. Lacelaw Corp.
  861 F.2d 224 (9th Cir. 1988) ......................................................................................................... 13
Babitt v. Schwartz (In re Lollipop, Inc.)
  205 B.R. 682 (Bankr. E.D.N.Y., 1997) ........................................................................................ 3, 4
Banner v. Kassow
  104 F.3d 352 (2d Cir. 1996)........................................................................................................... 20
Berezovskaya v. Deutsche Bank Nat'l Trust Co.
  2014 U.S. Dist. LEXIS 127532, Ft note 13 (EDNY, 2014 .............................................................. 9
Berlenbach v. Bischoff
  137 Misc. 719, 244 N.Y.S. 369, 371 (N.Y.Sup.Ct. Spec. Term 1930) .......................................... 25
Berman v. Pavano (In re Michael S. Goldberg, LLC)
  2020 Bankr. LEXIS 2314, 22 (Bankr. Conn. 2020 ........................................................................ 19
Bonded Financial Services, Inc. v. European American Bank
  838 F.2d 890 (7th Cir. 1988) ................................................................................................... 14, 16
Brown v. Dellinger (In re Brown)
  734 F.2d 119 (2d Cir. 1984)............................................................................................................. 5
Bruno Mach. Corp. v. Troy Die Cutting Co. (In re Bruno Mach. Corp.)
  435 B.R. 819 .................................................................................................................................. 27
Bryant v. Maffucci
  923 F.2d 979 (2d Cir.), cert. denied, 502 U.S. 849, 116 L. Ed. 2d 117, 112 S. Ct. ......................... 4
Candid Prods., Inc. v. Int'l Skating Union
  530 F. Supp. 1330 (S.D.N.Y. 1982)............................................................................................... 22
Daly v. Radulesco (In re Carrozzella & Richardson)
  247 B.R. 595 (B.A.P. 2d Cir. 2000)................................................................................................. 5
Dreyfuss v. eTelecare Global Solutions—US, Inc.
  No. 08 Civ. 1115 (RJS), 2008 U.S. Dist. LEXIS 96945, 2008 WL 4974864,
  at *4 (S.D.N.Y. Nov. 19, 2008) ..................................................................................................... 22
Employees' Ret. Sys. of Gov't of the Virgin Islands v. Blanford
  794 F.3d 297 (2d Cir. 2015)........................................................................................................... 23




DOCS_LA:342816.4 65004/003                                            iii
           Case 8-20-08052-ast                  Doc 56         Filed 03/29/22             Entered 03/29/22 21:42:31




Farm Stores, Inc. v. Sch. Feeding Corp.
   102 A.D.2d 249, 477 N.Y.S.2d 374 (2d Dep't 1984)..................................................................... 19
FBI Wind Down Inc. Liquidating Trust v. All Am. Poly Corp. (In re FBI Wind Down, Inc.)
   581 B.R. 116, 130 (Bankr. DE, 2018) ................................................................................. 6, 12, 30
Floyd v. Option Mortgage Corp. (In re Supplement Spot, LLC)
   409 BR 187, 205 (Bankr. SD TX 2009) .......................................................................................... 5
Gafco, Inc. v. H. D. S. Mercantile Corp.
   47 Misc. 2d 661, 263 N.Y.S. 2d 109 (NY Sup. Ct 1965) .............................................................. 26
Geltzer v. Artists Mktg. Corp. (In re Cassandra Group),
   338 B.R. 583 (Bankr. S.D.N.Y. 2006) ..................................................................................... 25, 29
Golden v. The Guardian (In re Lenox Healthcare, Inc.)
   343 B.R. 96 (Bankr. D. Del. 2006) ................................................................................................ 15
Grace v. Bank Leumi Trust Co.
   443 F.3d 180 (2d Cir. 2006)........................................................................................................... 29
HBE Leasing Corp. v. Frank
   48 F.3d 623 (2d Cir. 1995)............................................................................................................. 19
Hudson v. Martingale Invs., LLC (In re Hudson)
   2014 Bankr. LEXIS 153, *12 (9th Cir. BAP 2014) ......................................................................... 9
In re Adelphia Communs. Corp.
   No. 02-41729, 2006 Bankr. LEXIS 223, 2006 WL 346418, at *1
   (Bankr. S.D.N.Y. Feb. 6, 2006) ................................................................................................. 8, 26
In re Finley Kumble
   130 F.3d 52 (2nd Cir. 1997) ...................................................................................................... 14, 15
In re M. Blackburn Mitchell, Inc.
   164 B.R. 117 (Bankr. N.D. Cal. 1994) .......................................................................................... 14
In re Refco Secs. Litig. v. Pf Saleco LLC
   2010 U.S. Dist. LEXIS 164632, *65 (S.D.N.Y, 2010) .................................................................. 24
In re Southmark
   49 F.3d 1111 (5th Cir. 1995) ........................................................................................................... 5
Jalbert v. Gryaznova (In re BICOM NY, LLC)
   619 B.R. 795 (Bankr. S.D. NY, 2020) ........................................................................................... 17
JPMorgan Chase Bank, N.A. v. Yuen
   No. 11 CV 9192, 2013 U.S. Dist. LEXIS 81055, 2013 WL 2473013,
   at *5-6 (S.D.N.Y. June 3, 2013) ...................................................................................................... 9
Law v. Siegel
   571 U.S. 415, 134 S. Ct. 1188, 188 L. Ed. 2d 146 (2014) ............................................................. 18
Lyman Commerce Sols., Inc. v. Lung
   2015 U.S. Dist. LEXIS 51447, 2015 WL 1808693, *31 (S.D.N.Y. Apr. 20, 2015) ..................... 17
Lyman Commerce Solutions, Inc. v. Lung,
   2015 U.S. Dist. LEXIS 51447, 17 (S.D.N.Y, 2015 ....................................................................... 29
Malloy v. Citizens Bank (In re First Sec. Mortgage Co.)
   33 F.3d 42 (10th Cir. 1994) ............................................................................................................ 14
Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.
   475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986) ............................................................. 4, 6



DOCS_LA:342816.4 65004/003                                         iv
           Case 8-20-08052-ast                  Doc 56         Filed 03/29/22            Entered 03/29/22 21:42:31




Mellon Bank v. Official Comm. of Unsecured Creditors (In re R.M.L., Inc.),
  92 F.3d 139, 149 (3d Cir. 1996)..................................................................................................... 26
Official Comm. Of Unsecured Creditors of Enron Corp. v. Martin (In re Enron
  Creditors Recovery Corp.)
   376 B.R. 442 (Bankr. S.D.N.Y. 2007) ............................................................................................ 8
Official Comm. of Unsecured Creditors v. Guardian Ins. 401 (In re Parcel
   Consultants, Inc.)
   287 B.R. 41 (Bankr. D.N.J. 2002) ................................................................................................. 15
Official Comm. of Unsecured Creditors v. U.S. Relocation Servs. (In re 360Networks
   (USA) Inc.)
   338 B.R. 194 (Bankr. S.D.N.Y. 2005) ........................................................................................... 15
Perez-Mejia v. Holder
   641 F.3d 1143 (9th Cir. 2011) ....................................................................................................... 13
Picard v. Citibank, N.A. (In re Bernard L. Madoff Inv. Secs. LLC)
   12 F.4th 171 (2d Cir. 2021) ..................................................................................................... 18, 20
Ret. Plan of Unite Here Nat'l Ret. Fund v. Kombassan Holding A.S.
   629 F.3d 282 (2d Cir. 2010)........................................................................................................... 10
Richardson v. United States, I.R.S. (In re Anton Noll, Inc.)
   277 B.R. 875 (B.A.P. 1st Cir. 2002) ........................................................................................ 16, 18
Saks International, Inc. v. M/V "Export Champion"
   817 F.2d 1011 (2d Cir. 1987)......................................................................................................... 11
Sec. Inv’r Prot. Corp. v. Bernard L. Madoff Inv. Secs. LLC
   2021 U.S. Dist. LEXIS 55824,*22 .................................................................................................. 8
Security First Nat'l Bank v. Brunson (In re Coutee)
   984 F.2d 138 (5th Cir. 1993) ......................................................................................................... 14
Sharp Int'l Corp. v. State St. Bank & Trust Co.
   403 F.3d 43 (2d Cir. 2005)............................................................................................................. 19
Silverman v. K.E.R.U. Realty Corp. (In re Allou Distribs.)
   379 B.R. 5 (Bankr. E.D.N.Y. 2007) ............................................................................................... 25
State Farm Mut. Auto. Ins. Co. v. Grafman
   2017 U.S. Dist. LEXIS 154290, *17 (Bankr. EDNY 2017) .......................................................... 17
Togut v. RBC Dain Correspondent Servs. (In re S.W.Bach Co.,)
   435 B.R. 866 (Bankr. S.D.N.Y. 2010) ........................................................................................... 25
Tronox Inc. v. Kerr McGee Corp. (In re Tronox Inc.)
   503 B.R. 239 (S.D.N.Y, 2013) ....................................................................................................... 26
United States v. Kaiser
   609 F.3d 556 (2d Cir. 2010)............................................................................................................. 9
United States v. Maciejewski
   70 F. Supp. 2d 129 (Bankr. N.D.N.Y, 1999) ................................................................................. 23
United States v. One Heckler-Koch Rifle
   629 F.2d 1250 (7th Cir. 1980) ....................................................................................................... 13
United States v. Ray
   930 F.2d 1368 (9th Cir. 1991) ......................................................................................................... 9




DOCS_LA:342816.4 65004/003                                         v
           Case 8-20-08052-ast                     Doc 56         Filed 03/29/22              Entered 03/29/22 21:42:31




United States v. Reyes
  157 F.3d 949 (2d Cir. 1998) ............................................................................................................ 8
United States v. Williams
  205 F.3d 23 (2d Cir. 2000)............................................................................................................... 9
William Iselin & Co., Inc. v. Boardwalk Regency Corp.
  703 F. Supp. 1084 (S.D.N.Y. 1989)............................................................................................... 26
Young v. Paramount Communications. Inc. (In re Wingspread Corp.)
  178 Bankr. 938 (Bankr. S.D.N.Y.), aff'd, 186 Bankr. 803 (S.D.N.Y. 1995) ................................... 3


                                                               Statutes
11 U.S.C. § 101 .................................................................................................................................. 19
11 U.S.C. § 101(31)(B)(iii) ................................................................................................................ 19
11 U.S.C. § 544(b) ............................................................................................................................... 3
11 U.S.C. § 548 ............................................................................................................................ 23, 26
11 U.S.C. § 548(c) ............................................................................................................................. 18
11 U.S.C. § 550(a) ............................................................................................................................. 14
11 U.S.C. § 550(a)(1)......................................................................................................................... 14
11 U.S.C. § 550(b)(1) ............................................................................................................ 18, 20, 21


                                                  Other Authorities
5 Collier on Bankruptcy P. 548.04(1) at 548-4 (Lawrence P. King, et al. eds.,
  15th ed. rev. vol. 2001) .................................................................................................................. 24
10A C. Wright, A. Miller & M. Kane, Federal Practice and Procedure
  § 2723, pp. 64-66 (1983)................................................................................................................ 13
13 Romualdo P. Eclavea, Carmody-Wait 2d New York Practice with Forms
  §§ 85-29 & 85-30 (2002) ............................................................................................................... 25
N.Y. Debt & Cred. Law § 273-a ........................................................................................................ 29
N.Y. Debt. & Cred. Law §276 ..................................................................................................... 25, 28
N.Y. Debt & Cred. Law § 278(2) ...................................................................................................... 25


                                                                Rules
Fed. R. Evid. 803 ....................................................................................................................... 8, 9, 12
Fed. R. Evid. 803(6)....................................................................................................................... 9, 11
Fed. R. Evid. 804 ............................................................................................................................... 12




DOCS_LA:342816.4 65004/003                                             vi
         Case 8-20-08052-ast            Doc 56       Filed 03/29/22        Entered 03/29/22 21:42:31




         COMES NOW, Plaintiff, Howard M. Ehrenberg in his capacity as Liquidating Trustee of

Orion Healthcorp, Inc., et al. (the “Plaintiff” or the “Liquidating Trustee”), for the estates of the

above-captioned debtors to the Opposition of Defendants (the “Opposition”) filed by Defendants

John Petrozza and Abruzzi Investments, LLC. (the “Defendants”) and submits his Reply Brief in

support of Plaintiff’s Motion For Summary Judgment Or In The Alternative, Summary

Adjudication.2

                                                           I.

                                SUMMARY OF ARGUMENT ON REPLY

           1.       While the Trustee goes to great lengths to expose the dealings at the Debtors, the

Opposition takes a different tactic seeking to throw out all exhibits to obfuscate what occurred.

Federal Rule of Evidence § 803(6) favors the admission of probative evidence not its exclusion

to allow the Court to draw an inference, or not.

           2.       The Opposition concedes that between 2014 and 2017, Parmar and executives of

the Debtors, transferred tens of millions of dollars directly from bank accounts of the Debtors

Constellation Healthcare Technologies, Inc. (“CHT”) and Orion Healthcorp., Inc. (“Orion”) to

the Robinson Brog IOLA Account. Parmar and the Debtor manufactured the acquisitions of

Northstar Acquisition, LLC, Phoenix Health, LLC, And MDRX Medical Billing, LLC, (the

“Synthetic Transactions”). Fictitious companies were created such as Lexington, Pulsar, and

Axis, with fake addresses and forged documents in order to divert proceeds from the Go-Private

Transaction in January 2017. The Opposition concedes the Robinson Brog IOLA Account was

utilized to receive funds from the Go-Private Transaction on February 3, 2017. Simply, the

Opposition makes no effort to explain these bad acts and the fact they evidence an intentional



2
    Defined terms are given the same meaning as utilized in the Motion (Docket No. 37 (hereinafter “Dkt. No. _”)).

DOCS_LA:342816.4 65004/003                                 1
       Case 8-20-08052-ast            Doc 56       Filed 03/29/22        Entered 03/29/22 21:42:31




misrepresentation of fact, known to be false when made, with the intention to move monies out

of the estate away from legitimate creditors, i.e. an intentional fraud.

        3.       Nor does the Opposition dispute Defendant John Petrozza’s direct involvement in

the Go-Private Transaction, as a controlling member of the Debtors and major shareholder, who

approved the Go-Private Transaction so “they could all make a gazillion dollars”, or, that the

Transfer made to him was paid directly from the IOLA Account. Three (3) Declarations are

submitted in support of the Opposition3 and interestingly not one of them addresses any of these

disturbing facts, nor introduces a single document to rebut the fraud perpetrated. Defendants

were not vendors of the Debtor, had no right to be paid in the course of business of the Debtor,

and gave no consideration to the Debtor. These facts are not in dispute. Legitimate claims of

creditors forced to sue the Debtor and obtain judgments went unpaid while Parmar’s buddy, with

no colorable claim for receiving funds from the Debtor, was paid, i.e. a constructive fraud.

        4.       The Opposition falls back to a novel concept: even though the Transfer was

designed and intended to benefit Defendants and did in fact benefit the Defendants as the “initial

transferee”, labelling the Transfer a “loan” and paying a third party downstream at Parmar’s

behest is a defense to a fraudulent transfer. The explanation is not a legally cognizable defense

nor does it meet the legal definition of a “mere conduit”.

        5.       Thirty-five (35) stipulated facts and the twenty-four (24) additional statements of

fact are detailed and well supported by the record. The extensive factual record establish that

summary judgment in favor of the Trustee is proper at this time.




3
 Declarations in support of the Opposition include Giuliano, (Dkt. No. 46), Petrozza (Dkt. No. 47), and Basich
(Dkt. No. 48).

DOCS_LA:342816.4 65004/003                               2
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




        The Motion Propery Identified A Predicate Creditor With A Claim In Excess of
        $100,000,000 as Against All Debtors In Existence Prior To The Transfer

        6.       As required by Code § 544(b), the Trustee may utilize state fraudulent

conveyance law to avoid a transfer if there exists an actual unsecured creditor who could void the

transfer under applicable law. Babitt v. Schwartz (In re Lollipop, Inc.), 205 B.R. 682, 687

(Bankr. E.D.N.Y., 1997) citing to Young v. Paramount Communications. Inc. (In re Wingspread

Corp.), 178 Bankr. 938, 945 (Bankr. S.D.N.Y.), aff'd, 186 Bankr. 803 (S.D.N.Y. 1995). To

establish a predicate creditor, “the creditor need not have reduced his claim to a lien or

judgment.” 9281 Shore Rd. Owners Corp. v. Seminole Realty Corp. (In re 9281 Shore Rd.

Owners Corp.), 187 B. R. 837, 852 (Bankr. E.D.N.Y. 1995). The Opposition is simply wrong in

claiming a judgment creditor must exist for all debtors.

        7.       The Motion established that on January 30, 2017, Bank of America (“BOFA”)

advanced $130,000,000 to the Debtors pursuant to the Credit Agreement. (Dkt. No. 38,

ASOF 51) The Credit Agreement was executed by all of the Debtors. (Dkt. No. 38, ASOF 52)

BOFA is the largest creditor in the bankruptcy case with an outstanding claims in the amount of

$158,200,710.89. (Dkt. No. 38, JSOF 19) As the Court is aware, substantially all of the Debtors

assets were sold in 2018 for $29,100,000. See Stipulated Order (I) Authorizing Continued Use of

Cash Collateral Through October 26, 2018 and (II) Granting Adequate Protection Pursuant to

11 U.S.C. §§361 And 363, Case No. 18-71748-ast, Dkt. No. 546, ¶¶ K & O) The elaborate fraud

perpetrated by Parmar and Petrozza has left in excess of $100M in unsecured debt. Defendants’

argument is frivolous.




DOCS_LA:342816.4 65004/003                        3
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22    Entered 03/29/22 21:42:31




        Defendants Make No Effort To Rebut The Undisputed Facts And Case Law
        Establishing The Funds In The IOLA Account Were The Debtor’s Property, Or An
        Account Which The Debtor Maintained A Legal Or Equitable Interest

        8.       The Motion set forth three (3) separate and independent basis to support the

assertion that the Robinson Brog IOLA account were the Debtor’s funds. (Motion, p. 13,

A(i)-(iii)). Defendants concede that monies held in the IOLA Account “remain funds of the

client whose money is being held there”, ergo, the law firm Robinson Brog is not the “initial

transferee”. (Opp., Dkt. No. 45, p. 13, §27) However, the Opposition asserts, without evidentiary

support, that the Transfer was made from a non-debtor account. (Opp., Dkt. No. 45, p. 14, §28)

Neither of the two exhibits attached to the Opposition create a material fact to prevent the

granting of summary judgment. The Court’s June 26, 2018, Order to Compel Robinson Brog to

produce all IOLA Account records and take the deposition of a Robinson Brog partner was

issued after Robinson Brog redacted and produced selected IOLA records. DLA Piper

compelled the production so the Trustee could gain a full accounting without allowing Robinson

Brog to limit the production. Similarly, the selected portions of the testimony of Roger

Raimond, the partner at Robinson Brog, as quoted in the Opposition, does not even reference the

issue of Debtor vs. non-Debtor funds. The Opposition attempts to create “doubt” but presents no

evidence admissible evidence of non-debtor funds. See Babitt v. Schwartz (In re Lollipop, Inc.),

205 B.R. 682, 686 (Bankr. E.D.N.Y., 1997) citing to Matsushita Elec. Indus. Co., Ltd. v. Zenith

Radio Corp., 475 U.S. 574, 586, 89 L. Ed. 2d 538, 106 S. Ct. 1348 (1986) (It is insufficient for

the non-movant to oppose a summary judgment motion by raising a "metaphysical doubt"

concerning a material fact); See Bryant v. Maffucci, 923 F.2d 979, 982 (2d Cir.), cert. denied,

502 U.S. 849, 116 L. Ed. 2d 117, 112 S. Ct. (noting that "conjecture or surmise" will not defeat a

summary judgment motion).



DOCS_LA:342816.4 65004/003                        4
       Case 8-20-08052-ast             Doc 56       Filed 03/29/22         Entered 03/29/22 21:42:31




                    At All Pertinent Times, The Monies in the IOLA Account Were Reflected
in Communications, Financial Records and Audited Returns As An Asset and Debt of the
Estate.4

         9.       The IOLA Account and the cash therein were reflected in the Debtor CHT’s

balance sheet and in its audited financial records for the year ended December 31, 2016. The

IOLA Account cash balance again was reported in the Debtors’ financials and tax returns. See

Floyd v. Option Mortgage Corp. (In re Supplement Spot, LLC), 409 BR 187, 205 (Bankr. SD TX

2009) (significance that account was listed in the debtor’s schedules in finding asset was

property of the estate). (Motion, Dkt. No. 37, p. 15) Once the Motion carried its burden and

evidenced the IOLA Account was reflected in the communications and financial records of the

Debtor consistent with it being treated as the Debtor’s property, the Opposition failed to rebut its

burden to identify, earmark or segregate certain funds as property other than the Debtors. See In

re Southmark, 49 F.3d 1111, 1118 (5th Cir. 1995) (shifting the burden to the defendant to prove

the "existence of a constructive trust"); Daly v. Radulesco (In re Carrozzella & Richardson), 247

B.R. 595, 602 (B.A.P. 2d Cir. 2000) (shifting the burden to the defendant to prove "only legal

title" to the money, rather than control). The hollow argument that non-debtor funds were

involved not only does not raise an issue of fact, but is not supported by admissible evidence.

                       Debtors' Monies were Directly Deposited into IOLA Account To Pay
Legitimate and Illegitimate Purposes.

         10.      The Motion affirmatively established that millions of dollars of the Debtor, CHT

and Orion, were directly diverted into the IOLA Account. (Motion, Dkt. No. 37, p. 16) Once a

trustee establishes that a transfer was made from a debtor-owned account over which the debtor


4
  The Opposition does not dispute the legal standard set forth in the Motion that the phrase 'all legal or equitable
interests of the debtor in property' has been given the broadest possible interpretation." See Brown v. Dellinger (In
re Brown), 734 F.2d 119, 123 (2d Cir. 1984).

DOCS_LA:342816.4 65004/003                                5
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




normally exercises control the trustee "makes a preliminary showing of an avoidable transfer 'of

an interest of the debtor'. FBI Wind Down Inc. Liquidating Trust v. All Am. Poly Corp. (In re

FBI Wind Down, Inc.), 581 B.R. 116, 130 (Bankr. DE, 2018). This presumption holds even in

cases where the account contains commingled funds. Id. The Motion establishes Debtor funds

into the IOLA Account, and the Debtor exercising control over the IOLA Account to pay

legitimate and illegitimate debts.

                     The 2017, Proceeds From the Go-Private Transaction Were Funded in Part
by the Debtors Borrowing $130,000,000 Which Were Deposited into IOLA Account.

        11.      While the Opposition makes no effort to trace the origin of the Transfer, the

Trustee does. (Motion, Dkt. No. 37, p. 17) $46,000,000 from the Go-Private Transaction, were

deposited into the Robinson Brog IOLA Account under a book caption titled “Constellation

Health/CHT Closing.” (Dkt. No. 38, JSOF 18) BOFA funded the Go-Private Transaction as

secured by an interest in all the Debtors’ property. (Dkt. No. 38, JSOF 18, 19) The Transfer was

made out of the IOLA Account under the book entry “Constellation Health/CHT Closing.” (Aff.

of J. Nolan, Dkt. No. 39, Ex. 3, p. 3) Not only was the IOLA reflected in the Debtors’ records as

an asset of the Debtor, but the funds appearing under the book entry “Constellation Health/CHT

Closing” was as a result of the loan obtained by the Debtor.

        12.      The Motion established that the IOLA Account consisted of an interest of the

Debtor in property from 3 independent sources. The Opposition failed to produce specific

evidence to raises a genuine issue of fact on any basis raised. Matsushita Elec. Indus. Co., Ltd.

v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). Plaintiff has

met his burden.


DOCS_LA:342816.4 65004/003                        6
       Case 8-20-08052-ast             Doc 56    Filed 03/29/22   Entered 03/29/22 21:42:31




        The Opposition Desperately Attempts to Throw Out All Evidence Attached to the
        Affidavits of Sartison, Wong and Lazzara Without Identifying To The Court The
        Document and the Indicia of Unreliability

        13.      According to the Opposition, the rampant allegations of fraud in the case cause all

documents in the case to be suspect. (Opp., Dkt. No. 45, §22) However, the Opposition takes

issue with only seven (7) of the Plaintiff’s Additional Separate Statement of Facts; ASOF 37, 38,

39, 53, 55, 56, and 59. (Opp., Dkt. No. 45, §16) The generalized statements do not withstand

stand scrutiny.5

                             Sartison Affidavit (Dkt. No. 41):

        14.      The Opposition asserts that the M&T Bank records attached to the affidavit of

Ms. Sartison cannot be considered as they lack authenticity (Opp., Dkt. No. 45, §15) Yet,

Defendants do not dispute they paid Sunshine Star, LLC. (Dkt. No. 28, JSOF 25) Regardless of

the claim, the bank records were produced in response to a duly issued subpoena by the Trustee.

(See Reply Aff. of J. Nolan, Ex. 1) The objection is without validity.

                             Wong Affidavit (Dkt. No. 40):

        15.      The Opposition asserts that Ms. Wong cannot lay a foundation or authenticate

various records found within the Debtors’ business records since (a) she was not an employee of

the Debtor, and (b) there is an indicia of unreliability with the documents attached to her

affidavit as “this case is replete with evidence of fraud”. (Opp., Dkt. No. 45, §20) If true, every

case involving a bankrupt estate involving fraudulent conveyances would not be pursued.

        16.      Rule 803(6) favors the admission of evidence rather than its exclusion if it has any

probative value at all." United States v. Kaiser, 609 F.3d 556, 574 (2d Cir. 2010). In fact,



5
 There are ample basis to grant summary judgment from the thirty-five (35) facts stipulated to
by the parties as set forth in Docket No. 38.


DOCS_LA:342816.4 65004/003                            7
       Case 8-20-08052-ast       Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




business records of entities engaged in fraud are commonly admitted into evidence. See, e.g., id.

at 575-76 & n.6 (finding fraudulent activity did not preclude admissibility under business records

exception); Official Comm. Of Unsecured Creditors of Enron Corp. v. Martin (In re Enron

Creditors Recovery Corp.), 376 B.R. 442, 454-58 (Bankr. S.D.N.Y. 2007) (admitting debtor's

records under business records exception even though Enron was engaged in fraudulent financial

transactions); In re Adelphia Communs. Corp., No. 02-41729, 2006 Bankr. LEXIS 223, 2006

WL 346418, at *1 (Bankr. S.D.N.Y. Feb. 6, 2006) (admitting debtors' books and records as

business records under Rule 803 even though principals engaged in bank fraud, securities fraud,

and conspiracy through debtor). "Residual doubts on the question [of trustworthiness] would go

to the weight of the evidence, not its admissibility." United States v. Reyes, 157 F.3d 949, 953

(2d Cir. 1998). See Sec. Inv’r Prot. Corp. v. Bernard L. Madoff Inv. Secs. LLC, 2021 U.S. Dist.

LEXIS 55824,*22 (rejecting defendants' wholesale attack on the books and records of a debtor in

a fraudulent conveyance action as lacking trustworthiness because the records were permeated

with fraud). Further, the business records attached to the Affidavit of Ms. Wong can be

corroborated from multiple sources. The bank records attached as Exhibits A, B & C, are for

transactions which are corroborated as being received on the IOLA Account. (See Wells Fargo

IOLA Acct Report, Dkt. No. 39; Aff. of J. Nolan, Ex. 3) Exhibit D bears the time and date

stamp of the State of Delaware, Secretary of State, Department of Corporations which is

self-authenticating. Exhibit E, dated November 17, 2016, is entirely consistent with Exhibit D,

all located within the business records of the Debtors. Defendants make a general objection that

Ms. Wong cannot lay a foundation for the exhibits to her declaration that were located within the

business records of the Debtor as she was not there when the document was created. The

objection is without merit.



DOCS_LA:342816.4 65004/003                       8
       Case 8-20-08052-ast        Doc 56    Filed 03/29/22     Entered 03/29/22 21:42:31




        17.      First, the Federal Rules do not require she be an employee. The foundational

requirement found in FRE 803(6) dictates that offered records be authenticated by testimony

from a custodian or “other qualified witness” from the business. Rule 803(6) incorporates the

phrase 'other qualified witness' which is broadly interpreted to require only that the witness

understand the record-keeping system." Id. (quoting United States v. Ray, 930 F.2d 1368, 1370

(9th Cir. 1991)). It would be hard to imagine demanding an employee be present since a trustee

in bankruptcy steps in after the company has been closed. Second, subsection (6) of FRE 803,

does not require the business custodian to certify he or she has first-hand knowledge of the facts

set forth in the records being authenticated. Hudson v. Martingale Invs., LLC (In re Hudson),

2014 Bankr. LEXIS 153, *12 (9th Cir. BAP 2014); See Berezovskaya v. Deutsche Bank Nat'l

Trust Co., 2014 U.S. Dist. LEXIS 127532, Ft note 13 (EDNY, 2014) citing to United States v.

Kaiser, 609 F.3d 556, 574 (2d Cir. 2010); JPMorgan Chase Bank, N.A. v. Yuen, No. 11 CV

9192, 2013 U.S. Dist. LEXIS 81055, 2013 WL 2473013, at *5-6 (S.D.N.Y. June 3, 2013) (noting

that "[t]o establish a proper foundation for a document offered into evidence as a business

record, the custodian or other qualified witness 'need not have personal knowledge' of the

creation of the document,' ... or even identify a person who does") (citing United States v.

Williams, 205 F.3d 23, 34 (2d Cir. 2000); Ret. Plan of Unite Here Nat'l Ret. Fund v. Kombassan

Holding A.S., 629 F.3d 282, 289 (2d Cir. 2010)). Here, Ms. Wong states she was present at the

Debtors pre-petition and post-petition and personally conducted an investigation of the financial

condition and business operations of CHT. She was granted access to the records of the Debtors

including, bank statements, accounts payable, accounts receivables, vendor files, customer files,

financial systems and email communications of the Debtors’ employees and was personally

familiar with them. The correspondence and emails attached to her affidavit (Exhibits G, H, I, J,

M, N) were located within the business records of the Debtors as regularly maintained in its

DOCS_LA:342816.4 65004/003                       9
       Case 8-20-08052-ast            Doc 56     Filed 03/29/22       Entered 03/29/22 21:42:31




business. Nothing contained within the emails is inconsistent with the facts before the Court to

raise an indicia of unreliability. Defendants claim they asked for the monies on May 24, 2017

and the emails evidence the Transfer being made on May 25, 2017, entirely consistent. (See

Exs. M & N; Dkt. No. 38, JSOF 22). Exhibits K & L, the bank documents, namely the Credit

Agreement dated January 30, 2017, among BOFA and the Debtors as Borrowers, the pledge,

note and guaranties not only were located within the business records of the Debtors, but have

been regularly before this Court in First Day motions, cash collateral motions, and the Plan and

Disclosure Statement. (See Dkt. No. 644, Case No. 18-71748-ast, p. 27) The Opposition does

not assert the BOFA documents to carry any indicia of unreliability.

                             Frank Lazzara Affidavit (Dkt. No. 42):

        18.      The Opposition makes the same generalized objections to the Affidavit of Frank

(“Aff. of F. Lazzara) as the Affidavit of Ms. Wong does. The Aff. of F. Lazzara attaches

seven (7) exhibits. No expert testimony is necessary or offered. The witness offers reliable

testimony regarding the collection, maintenance and production of each exhibit.

        19.        Mr. Lazzara was a Managing Director with FTI and led the forensic

investigations team that acquired the Debtor’s books, records and electronic communications,

pre-petition and was a part of the interim management team that occupied the Debtor’s offices,

assisting with the conduct of the day-to-day management of the Debtor’s financial affairs. Mr.

Lazzara sets forth how they collected the Debtor’s electronically stored information (“ESI”) from

servers maintained by CHT. (Aff. of F. Lazzara, Dkt. No. 42, §2) They located the Office 365

mailboxes of the executives and “he was personally familiar with the Debtor’s books and records

and the historical communications that were committed to email”. (Aff. of F. Lazzara, Dkt.

No. 42, §2) Exhibit 1 and Exhibit 3 are emails discovered by FTI in the business records of the

Debtor. Exhibit 1 is an email dated July 28, 2017, addressed to Parmar and Zaharis, the Debtors’

DOCS_LA:342816.4 65004/003                           10
       Case 8-20-08052-ast            Doc 56      Filed 03/29/22        Entered 03/29/22 21:42:31




executives, attaching the IOLA Account dated July 27, 2017. Both the email and the ledger are

consistent, i.e. they accurately reference the attachment. Exhibit 3, an email referencing a

$688,000 payment from December 2016 and is corroborated on the Robinson Brog IOLA

Account produced by Robinson Brog in response to the Court Order. See Saks International, Inc.

v. M/V "Export Champion", 817 F.2d 1011, 1013 (2d Cir. 1987) ("The principal precondition to

admission of documents as business records pursuant to Fed. R. Evid. 803(6) is that the records

have sufficient indicia of trustworthiness to be considered reliable.")

        20.      Exhibits 2 & 7, the Consolidated Financial Statements of the Debtor for two time

frames 2013-2014, and 2015-2106, as prepared for the Board of Directors of the Debtor by an

Independent Auditor. Both documents are supported with cover letters outlining detailed

explanations concerning their preparation. 6 The documents are reliable and offered merely to

reflect the recordation by the Debtor’s auditors of the IOLA Account in the Debtor’s audited

financial statements as an asset of the Debtor. Mr. Lazzara does not offer expert testimony, but

merely notes the location of the entries in a multi-page financial record. Exhibit 1, 2, 3 and 7 are

trustworthy on their face and reliable for the purpose presented.

        21.      Exhibit 4 is the Robinson Brog billing memorandum for 2016, as referenced in the

e-mail dated December 22, 2016, and which requested payment in the approximate amount of

$688,000 from the IOLA Account. (Aff. of F. Lazzara, Dkt. No. 43, Ex. 4). Further

corroborating the email and billing invoices, is the recordation in the IOLA Account on that


6
  A statement not specifically covered by Rule 803 or 804 but having equivalent circumstantial guarantees of
trustworthiness, is not excluded by the hearsay rule, if the court determines that (A) the statement is offered as
evidence of a material fact; (B) the statement is more probative on the point for which it is offered than any
other evidence which the proponent can procure through reasonable efforts; and (C) the general purposes of
these rules and the interests of justice will best be served by admission of the statement into evidence.
However, a statement may not be admitted under this exception unless the proponent of it makes known to the
adverse party sufficiently in advance of the trial or hearing to provide the adverse party with a fair opportunity
to prepare to meet it, the proponent's intention to offer the statement and the particulars of it, including the
name and address of the declarant.

DOCS_LA:342816.4 65004/003                              11
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




same day, December 22, 2016, of a payment to Robinson Brog of $697,392.29 out of the IOLA

Account. As noted, the invoices included the fees for the Go-Private Transaction demonstrating

the Debtors’ right to use funds to pay its own creditors. FBI Wind Down Inc. Liquidating Trust v.

All Am. Poly Corp. (In re FBI Wind Down, Inc.), 581 B.R. 116, 130 (Bankr. DE, 2018) (Debtor’s

use of fund is dispositive of ownership). (Motion, Dkt. No. 37, p. 16)

        22.      Exhibit 5 is the year-end balance reported in the IOLA Account, and Exhibit 6 is

the year-end balance reported in the Debtor’s general ledger. Defendants do not dispute the

IOLA Account was being forwarded by Robinson Brog to the Debtor. The emails independently

corroborate this fact. Defendants do not dispute the Debtor maintained a general ledger. The

consolidated financial statements corroborate this fact.

        The Opposition Admits The Defendants Were the “Initial Transferee”

        23.      “‘[J]udicial admissions are formal admissions in pleadings which have the effect

of withdrawing a fact from issue and dispensing wholly with the need for proof of the fact.’"

Perez-Mejia v. Holder, 641 F.3d 1143, 1151 (9th Cir. 2011) quoting Am. Title Ins. Co. v.

Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988) (internal quotation marks and citation

omitted). For purposes of summary judgment, the courts have treated representations of counsel

in a brief as admissions even though not contained in an affidavit. United States v. One Heckler-

Koch Rifle, 629 F.2d 1250, 1253 (7th Cir. 1980); 10A C. Wright, A. Miller & M. Kane, Federal

Practice and Procedure, § 2723, pp. 64-66 (1983).

        24.      In the present case, Defendants admit that: “There are really three transfers taking

place. The first transfer is the transfer of the Funds at Parmar’s direction from the CHT Closing

Account to the Abruzzi bank account.” (Emphasis Added) (Opp., Dkt. No. 45, p. 23, §54). Not

that it could be reasonably disputed, but Defendants admit they are the “initial transferee”. The

subsequent claim that Defendants were a “mere conduit” does not meet the stringent legal test.

DOCS_LA:342816.4 65004/003                        12
       Case 8-20-08052-ast              Doc 56       Filed 03/29/22         Entered 03/29/22 21:42:31




         The Claim That Defendants Were Intended to Be A “Mere Conduit” For the Second
         Payment To Sunshine Star, LLC Is A Poor Explanation, Not A Defense

         25.      According to the Opposition, Defendants were the mere “conduit” for making a

payment thirty-five (35) days later to Sunshine Star, LLC. (Opp., Dkt. No. 45, p. 19) The

argument fails since the Transfer was intended to benefit Defendants, personally benefitted

Defendants, and Defendants exercised dominion and control over the funds. What Defendants

did 35 days later does not alter the undisputed fact that by purpose and design, Defendants were

the “initial transferee” and/or for whose benefit the Transfer was made.7

         26.      Other courts have followed the lead of the Seventh Circuit in Bonded Financial

Services, Inc. v. European American Bank, 838 F.2d 890, 893 (7th Cir. 1988), and have adopted

a dominion or control test to determine who is an “initial transferee”. See Security First Nat'l

Bank v. Brunson (In re Coutee), 984 F.2d 138, 140 (5th Cir. 1993) (collecting cases). The

Bonded approach is that "the minimum requirement of status as a 'transferee' is dominion over

the money or other asset, the right to put the money to one's own purposes." 838 F.2d at 893.

Malloy v. Citizens Bank (In re First Sec. Mortgage Co.), 33 F.3d 42, 43-44 (10th Cir. 1994).

         27.      In Finley, Kumble, the Second Circuit Court adopted the reasoning of the Seventh

Circuit in the Bonded Financial case, noting that the “logic” of Bonded Financial had been

widely accepted. See Finley, Kumble, 130 F.3d 52, 57–58 , citing Malloy v. Citizens Bank (In re

First Sec. Mortgage Co.), 33 F.3d 42, 44 (10th Cir. 1994); In re Finley, Kumble, 130 F.3d 52, 59

(2nd Cir. 1997) involved a debtor law firm who had purchased malpractice insurance through its



7
  Section 550(a) defines the party with whom a trustee may seek to recover property that is fraudulently transferred
or the value or proceeds of such property. Section § 550(a)(1) provides that either an “initial transferee” or the
“entity for whose benefit such transfer was made” is liable for the avoided transfer. 11 U.S.C. § 550(a)(1). The
statutory structure holds either group subject to strict liability. In re Finley Kumble, 130 F.3d 52, 57 (2nd Cir. 1997);
See In re M. Blackburn Mitchell, Inc., 164 B.R. 117, 125 (Bankr. N.D. Cal. 1994) (Even innocent initial transferee is
liable for the transfer)



DOCS_LA:342816.4 65004/003                                13
       Case 8-20-08052-ast       Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




insurance broker. The broker forwarded the debtor's premium payments directly to the insurer.

The Second Circuit noted that the broker, upon receipt of the funds, did not have the right to put

them to its own use but was obligated to transmit them to the insurer. Id. Notable findings by the

Second Circuit in Finley, the allegations did not suggest that the funds transferred were for the

broker’s benefit, funds were not diverted into the broker’s account, the “broker had no discretion

or authority to do anything else but transmit the monies, “the transfer of premium funds was an

ordinary or routine financial transaction for an agency”. See In re Finley, supra, 58-59. Unlike

In re Finley, the Transfer before this Court is anything but routine. The undisputed facts here;

the Transfer involved an undocumented handshake loan (Dkt. No. 38, JSOF 27), where

Defendants asked for $200,000 and received $250,000 (Dkt. No. 38, JSOF 24). The monies

were sent to Defendants by purpose and design to personally benefit Defendants who needed the

money (Dkt. No. 38, JSOF 22, 27, 30; See Dkt. No. 40, See Ex. M, email from Parmar) The

Transfer was controlled and deposited on May 25, 2017 to the bank account of Defendant

Abruzzi’s Investments, LLC. (See Dkt. No. 40; Ex. N, Ehren–Abruzzi 000019; Dkt. No. 47,

Petrozza Dec., §7) and Defendant Petrozza used the funds to lease a property. (Dkt. No. 47,

Petrozza Dec., §8).

        28.      In In re 360networks (USA), Inc, 338 B.R. 194, (Bkrtcy. S.D.N.Y. 2005), the

court rejected defendant as a “mere conduit” where the record established defendant benefitted

even though being reimbursed for sums advanced to employees. Id. at 202. The same facts are

before this Court. Where a transferee may use the funds freely, it is not a "mere conduit."

Golden v. The Guardian (In re Lenox Healthcare, Inc.), 343 B.R. 96, 104 (Bankr. D. Del. 2006)

citing to Official Comm. of Unsecured Creditors v. U.S. Relocation Servs. (In re 360Networks

(USA) Inc.), 338 B.R. 194, 202 (Bankr. S.D.N.Y. 2005); Official Comm. of Unsecured Creditors

v. Guardian Ins. 401 (In re Parcel Consultants, Inc.), 287 B.R. 41, 46 (Bankr. D.N.J. 2002)

DOCS_LA:342816.4 65004/003                      14
       Case 8-20-08052-ast       Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




(finding insurance company which administered 401k plan for debtor was mere conduit for plan

funds); Richardson v. United States, I.R.S. (In re Anton Noll, Inc.), 277 B.R. 875, 880-81 (B.A.P.

1st Cir. 2002) (holding that defendant gained dominion and control upon delivery of a check

payable to "cash" because the check became negotiable upon the defendant's receipt); See also

Bonded, 838 F.2d at 893 (stating that a mere conduit holds funds "only for the purpose of

fulfilling an instruction to make the funds available to someone else").

        29.      The side agreement between Parmar and Petrozza, to send a payment to Sunshine

Star, LLC for no documented reason does not retroactively immunize the Transfer. (Dkt. No. 38,

JSOF 23) Nor is it accurate that Defendants “returned the Transfer”. (Opp., Dkt. No. 45, p. 19).

They did not. Rather, the facts clearly evidence Defendants deposited the Transfer into his

investment account and used the monies to “lease another property”. (Aff. of Petrozza, Dkt.

No. 47, §8; Depo. of Petrozza, p. 197-198; Aff. of J. Nolan). When Petrozza had sufficient funds

he claims, “I told Parmar on the phone I could pay it back now”. (Depo. of Petrozza, p. 198,

attached to Reply Aff. of J. Nolan, Ex. 2). On June 28, 2017, Defendants took new funds from

his Abruzzi Investment account, transferred the funds to Mr. Petrozza’s checking account ending

in #1763, the same checking account that he received the Transfer, and new funds were sent to

Sunshine Star, LLC. (Dkt. No. 38, JSOF 24; see Ex. B to Dec. of Basich, Dkt. no. 48, email

dated June 28, 2017 @ 1:04 pm).

        30.      The Opposition is simply wrong that a defendant who exercises dominion and

control over monies and puts them in his account for his own use can thereafter claim as a legal

defense that he transferred the funds later to a third party. See State Farm Mut. Auto. Ins. Co. v.

Grafman, 2017 U.S. Dist. LEXIS 154290, *17 (Bankr. EDNY 2017) (Ft. note 2 discussing the

law in the Second Circuit and case law rejecting the “I transferred it to someone else weeks

later” defense.) See Lyman Commerce Sols., Inc. v. Lung, 2015 U.S. Dist. LEXIS 51447, 2015

DOCS_LA:342816.4 65004/003                      15
       Case 8-20-08052-ast        Doc 56      Filed 03/29/22     Entered 03/29/22 21:42:31




WL 1808693, *31 (S.D.N.Y. Apr. 20, 2015) (rejecting defendant’s explanation that liability may

be avoided by simply transferring funds down the line to a corporate insider or third party and

granting summary judgment against defendant).

        31.      Defendants’ reliance on Jalbert v. Gryaznova (In re BICOM NY, LLC), 619 B.R.

795 (Bankr. S.D. NY, 2020) is misplaced. In Jalbert, the defendant Ms. Gryaznova maintained a

joint account with a resident of the United States. It was undisputed that she never used the

funds, did not know of the transfers from the account, and the transfers were never intended to

go to her. Id at 797. “No real world transfer of funds to Ms. Gryaznova was intended, and none

was accomplished”. Id at 799. “Ms. Gryaznova did not endorse, participate in, or know about

the use of her account”. Id. In the present case, Petrozza expressly facilitated the Transfer and

used the monies.

        The Law Places The Burden On The Initial Transferee Who Has The Best
        Opportunity To Uncover The Irregularity In the Conveyance

        32.      As the “initial transferee“, Defendants’ were in the best position to avoid the

present dispute. The Opposition claims Defendants “had no say in where the money went”.

(Opp., Dkt. No. 45, p. 23, §54). The claim is disingenuous.

        33.      “Congress allocated the burden of inquiry and risk on the “initial transferee” the

entity for whose benefit the transfer was made. The initial transferee is the best monitor;

subsequent transferees usually do not know where the assets came from and would be ineffectual

monitors if they did.” Richardson v. United States, I.R.S. (In re Anton Noll, Inc.), 277 B.R. 875,

882 (B.A.P. 1st Cir. 2002) Defendants asked for the loan, had bank statements to evidence where

it came from, and the ability to return it directly to Parmar or the Debtor. The instructions from

Parmar indicating monies should be sent to Sunshine Star, LLC was clearly within his purview to

question, or better yet, to reject. This power clearly rested with Defendants.


DOCS_LA:342816.4 65004/003                        16
       Case 8-20-08052-ast           Doc 56   Filed 03/29/22    Entered 03/29/22 21:42:31




        Even Under a Scenario As Defendants Claim Where They Are A “Subsequent
        Transferee” under 11 USC §550(a)(2), Defendants Did Not Take For Value and In
        Good Faith

        34.      The Opposition contends that if the Defendants are “subsequent transferees”, they

can establish they took the Transfer for “value” and “in good faith”. (Opp., Dkt. No. 45,

pp. 25-27) The argument fails as the undisputed facts establish Defendants were insiders or

shareholders and nothing in the Opposition rebuts the per se rule under New York law, that an

insider payment is not made in good faith nor for value.

                             Good Faith

        35.      The concept of "good faith" as historically used in fraudulent conveyance law

informs the construction of the phrase in Sections 548(c) as well as 550(b)(1). Picard v.

Citibank, N.A. (In re Bernard L. Madoff Inv. Secs. LLC), 12 F.4th 171, 187 (2d Cir. 2021) Under

the normal rule of statutory construction that words repeated in different parts of the same statute

generally have the same meaning, “good faith” as utilized in 11 U.S.C § 548(c) and § 550(b)(1)

are viewed consistently. Id at 186, citing to Law v. Siegel, 571 U.S. 415, 422, 134 S. Ct. 1188,

188 L. Ed. 2d 146 (2014). New York courts have long recognized that where the transferee is an

officer, director, or major shareholder of the transferor, good faith is lacking as a matter of law.

Id.; see also Sharp Int'l Corp. v. State St. Bank & Trust Co., 403 F.3d 43, 54 (2d Cir. 2005);

Farm Stores, Inc. v. Sch. Feeding Corp., 102 A.D.2d 249, 477 N.Y.S.2d 374 (2d Dep't 1984).

Section 548(c) requires both value and good faith and in the absence of either, the defense fails.

Berman v. Pavano (In re Michael S. Goldberg, LLC), 2020 Bankr. LEXIS 2314, 22 (Bankr.

Conn. 2020). When preferences are given to a debtor corporation's shareholders, officers, or

directors, such transfers are generally deemed not to be for fair consideration and per se

violations of the good faith requirement. Id. (citing HBE Leasing Corp. v. Frank, 48 F.3d 623,

634 (2d Cir. 1995)). An insider payment is not in good faith, regardless of whether or not it was

DOCS_LA:342816.4 65004/003                       17
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22      Entered 03/29/22 21:42:31




paid on account of an antecedent debt." Am. Media, Inc. v. Bainbridge & Knight Labs., LLC,

135 A.D.3d 477, 478, 22 N.Y.S.3d 437 (1st Dept 2016).

        36.       Defendant Abruzzi Investment, LLC filed multiple claims identifying itself as a

shareholder and a controlling member of the Debtors. (Dkt. No. 38, JSOF 6, 7, 35). It is also an

undisputed fact that Defendant Petrozza met with Parmar and the Board of Directors in

November 2016 and approved the Go-Private Transaction so they could all make a lot of money.

(Dkt. No. 38, JSOF 14). Defendant Petrozza testified under oath that he was present, signed the

Unanimous Consent of All Managers to approve the merger of the Debtor into the Go-Private

Transaction including the Prepetition Credit Agreement encumbering all the Debtors assets. (See

Reply Aff. of J. Nolan, Ex. 2; Aff. of F. Lazzara, Dkt. No. 42, §10) Under 11 U.S.C. § 101, the

term "insider" includes: if the debtor is a corporation “(iii) person in control of the debtor; "

11 U.S.C. § 101(31)(B)(iii) No disputed fact exists that Defendants were shareholders or an

insider who approved the transaction that ultimately resulted in money deposited to the IOLA

account and being disbursed directly to Defendants. The Transfer was a per se violation of the

good faith requirement enumerated under the Farm Stores, Inc., decision.

        37.      It is Defendants’ burden to establish good faith under § 550(b)(1). Picard v.

Citibank, N.A. (In re Bernard L. Madoff Inv. Secs. LLC), 12 F.4th 171, 191(2nd Cir. 2021)

(“because taking a transfer in good faith under § 550(b) is an exception to the general rule

permitting the trustee to recover the transfer under § 550(a), it is an affirmative defense).

Defendants have not sustained their burden. The Second Circuit discussed the element of “good

faith” in a fraudulent conveyance case at length in Picard v. Citibank, N.A. (In re Bernard L.

Madoff Inv. Secs. LLC), 12 F.4th 171, 189(2nd Cir. 2021):




DOCS_LA:342816.4 65004/003                        18
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




            “we expressed that "[a] transferee does not act in good faith when he has
            sufficient knowledge to place him on inquiry notice of the debtor's possible
            insolvency." Banner v. Kassow, 104 F.3d 352 (2d Cir. 1996) (unpublished
            opinion) (quoting In re Sherman, 67 F.3d at 1355).

        38.      The Opposition concedes that under §550(b)(1), Defendants are held to the status

of “inquiry notice”. (Opp., Dkt. No. 45, §64) However, the Second Circuit, looks at what the

defendant knew, should have known, and what a diligent inquiry would uncover. Id. at 191-192.

If the transferee had information that put it on inquiry notice that the transferor was insolvent or

that the transfer might be made with a fraudulent purpose", good faith is lacking. Id. citing to

Marshall, 740 F.3d at 91 n.11 (2d Cir. 2014) Here, Petrozza claims he was receiving the

Transfer from Constellation Healthcare or Parmar, “I wasn’t really certain”. (Reply Aff. of J.

Nolan; see Ex. 2, Petrozza Depo., pp. 200-201) Defendants recorded it as “Loan Constellation

Paul”. (Reply Aff. of J. Nolan; see Ex. 2, Depo. of Petrozza, Ex. 20) Defendant Petrozza admits

he suspected Parmar was having financial issues and could not pay his bills in January 2017, just

weeks before the Transfer. (Dkt. No. 38, JSOF 29) As for the Debtors’ financial condition,

Petrozza knew his $4MM investment was in jeopardy so he and Parmar formed Aquila Alpha in

2015, and he (Parmar) funded it for $3.5MM, “so if things didn’t go right, I would have

something that I would be able to get my initial investment back…”. ”. (Reply Aff. of J. Nolan,

Petrozza Depo., Ex. 2, pp. 103-106) Defendants’ knowledge of the Debtor and Parmar’s

financial troubles was so tangible, they orchestrated the Aquila Alpha scheme.

        39.      Similarly, “good faith” fails as Defendants knew, or could have known, they were

sending monies to a sham third party corporation. Petrozza received the email with wire

instructions that clearly identified, “Sunshine Star, LLC”, not Parmar or Constellation as the

recipient of his payment. (Dkt. No. 38, JSOF 25; See June 28, 2017, 1:04 pm email, Ex. B to

Aff. of Basich, Dkt. No. 48) If Defendants performed even a rudimentary corporate search, he


DOCS_LA:342816.4 65004/003                       19
       Case 8-20-08052-ast           Doc 56   Filed 03/29/22    Entered 03/29/22 21:42:31




would have learned Sunshine Star, LLC was incorporated on June 12, 2017, only two weeks

before he wired the funds. (See Reply Aff. of J. Nolan, Ex. 3) However, he willingly or blindly

aided Parmar. As he stated so aptly in his declaration, he was a willing participant to Parmar’s

machinations; “If Parmar told me I had to burn the money in the street to pay him back I would

have done that too.”(See Aff. of Petrozza, Dkt. No. 47, §13)

                             Value

        40.      Section 550(b)(1) offers a defense to any subsequent transferee provided “a

transferee that takes for value, including satisfaction or securing of a present or antecedent

debt,…” The undisputed facts confirm this was a loan and Defendants’ gave nothing in

exchange for the Transfer. (Dkt. No. 38, JSOF 22) Defendants admit they did nothing to earn

the Transfer. (Dkt. No. 38, JSOF, 26) However, the Opposition asserts it gave value to Parmar

and/or the Debtor in the form of an unsecured enforceable oral promise to pay the amount back

at a later date. (Opp., Dkt. No. 45, §66) As the argument goes, the Defendants would have been

liable to the Debtors for breach of an oral contract. What enforceable agreement?

        41.      "[F]or a contract to be valid, the agreement between the parties must be definite

and explicit so their intention may be ascertained to a reasonable degree of certainty." Candid

Prods., Inc. v. Int'l Skating Union, 530 F. Supp. 1330, 1333 (S.D.N.Y. 1982). “A court cannot

enforce a contract unless it is able to determine what in fact the parties have agreed to." Dreyfuss

v. eTelecare Global Solutions—US, Inc., No. 08 Civ. 1115 (RJS), 2008 U.S. Dist. LEXIS 96945,

2008 WL 4974864, at *4 (S.D.N.Y. Nov. 19, 2008) (quoting 166 Mamaroneck Ave. Corp. v. 151

E. Post Rd. Corp., 78 N.Y.2d 88, 91, 575 N.E.2d 104, 571 N.Y.S.2d 686 (1991), aff'd sub nom.

Dreyfuss v. Etelecare Global Solutions—U.S. Inc., 349 Fed. Appx. 551 (2d Cir. 2009). "[I]f an

agreement is not reasonably certain in its material terms, there can be no legally enforceable

contract." Id. To claim an enforceable contract, the Opposition relies on phone text from

DOCS_LA:342816.4 65004/003                        20
       Case 8-20-08052-ast            Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




Petrozza to Parmar where he needs to borrow $200,000. (Dkt. No. 38, JSOF 22) However, the

Transfer was for $250,000. Petrozza could not explain the discrepancy. (Dkt. No. 38, JSOF 22)

Earlier, Petrozza and Parmar exchanged $200,000 in another handshake loan. (Dkt. No. 38,

JSOF 23) Yet, Petrozza could not explain that transfer either. (Dkt. No. 38, JSOF 23) Parmar and

Petrozza had numerous “handshake loans” between them. (Dkt. No. 38, JSOF 27) In 2015 or

2016, they exchanged large sums of money paying one another’s credit cards:

            “I had no liquid in the marina. And I needed to come up with $180,000. I didn’t
            even ask Tomer. And the next day he [Parmar] shows up, and he just gives me
            a check for $180,000. There’s no paperwork. It was just a handshake.” (Reply
            Aff. of J. Nolan, Petrozza Depo., pp. 76-77)

        42.      The Opposition could have attached admissible evidence such as leases, emails,

receipts but instead the Court is left to guess and fill in the blanks.

        The Creation Of Fake Acquisitions, Corporations, And Corporate Documents
        Designed To Misstate Assets And Divert Funds Of The Estate Away From
        Legitimate Creditors Is A Text Book Case Of An Intentional Fraudulent
        Conveyance

        43.      The Opposition does not cite to a single piece of admissible evidence to rebut the

undisputed facts evidencing the fraudulent acquisition of companies, the creation of fake

companies and the altering of documents to enter into the Go-Private Transaction and divert

funds of the Debtor.         The Opposition does not dispute that the Transfer in question was a direct

result of the Go-Private Transaction which depleted the assets of the estate. Instead, the

Opposition responds that summary judgment is “exceedingly rare” where intent is at issue.

                             Fraudulent Intent Established By Bad Acts

        44.      Evidence of a specific intent to defraud is evident from the falsification of

documents, making false statements in documents, or back-dating documents. See United States

v. Maciejewski, 70 F. Supp. 2d 129, 134 (Bankr. N.D.N.Y, 1999). A "strong inference" of fraud

may be established by alleging facts showing either (1) a "motive and opportunity to commit the

DOCS_LA:342816.4 65004/003                           21
       Case 8-20-08052-ast       Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




fraud"; or (2) "strong circumstantial evidence of conscious misbehavior or recklessness."

Employees' Ret. Sys. of Gov't of the Virgin Islands v. Blanford, 794 F.3d 297, 306 (2d Cir. 2015)

(securities law); see also Adelphia Recovery Trust v. Bank of Am., N.A., 624 F. Supp. 2d 292,

308 (S.D.N.Y. 2009) (applying "motive and opportunity" test to the pleading of a § 548 claim).

In 2015 and 2016, the Opposition concedes that numerous fake acquisitions took place by the

Debtor at Parmar’s behest acquiring shell companies which had no business, employees or assets

and generated no new revenue. (Dkt. No. 38: JSOF 11-13; ASOF 43) In November 2016,

Defendant Petrozza met with Parmar and other managers of the board to approve the corporate

documents associated with the Go-Private Transaction. (Dkt. No. 38, JSOF 14) The Go-Private

Transaction involved the merger and acquisition of shares of the Debtors and the sale of the

controlling interest to CC Capital (referred to as CHT Holdco, LLC). To finance the merger, the

Debtor took on massive debt by obtaining financing from BOFA for $130 million (with a total

commitment of up to $150 million). (Dkt. No. 38, ASOF 51) In November and December 2016,

Parmar created fake companies to receive the fabricated equity from the Synthetic Transactions.

(Dkt. No. 38: JSOF 16; ASOF 44-50) One of the fictitious entities created on November 17,

2016, to receive monies was Lexington Landmark Services, LLC as owned by the Defendant

Petrozza. (Dkt. No. 38, JSOF 15) Neither Lexington, Axis Medical Services, LLC, nor Pulsar

Advanced Care, LLC, were legitimate businesses. (Dkt. No. 38: JSOF 16, 17; ASOF 45, 49) As

set forth in the Motion, fake employer identification numbers were obtained from the IRS. (Dkt.

No. 38, JSOF 17; Motion, Dkt. No. 37, pp. 19-20) The definition of “fraudulent transfer” under

§ 548, is "an act which has the effect of improperly placing assets beyond the reach of

creditors"). Id. at 194, citing to See 5 Collier on Bankruptcy P. 548.04(1) at 548-4 (Lawrence P.

King, et al. eds., 15th ed. rev. vol. 2001) See, In re Refco Secs. Litig. v. Pf Saleco LLC, 2010

U.S. Dist. LEXIS 164632, *65 (S.D.N.Y, 2010) (the intent of Section 548(a)(1) and fraudulent

DOCS_LA:342816.4 65004/003                       22
       Case 8-20-08052-ast             Doc 56      Filed 03/29/22         Entered 03/29/22 21:42:31




conveyance law is to prevent a debtor from "manipulating his affairs in order to shortchange his

creditors and pocket the difference"). This is a text book case of Parmar and his buddies self-

dealing.

         45.      Further, Defendants participated and profited from the bad acts. The IOLA

Account that received the Go-Private transactions, is the same account the funds were paid to

Defendants on May 25, 2017. 8 (Aff of J Nolan, Dkt. No. 39, Ex. 3, p. 3) "Actual fraudulent

intent" under NYDCL § 278(2) has been construed such that it is satisfied if a "transferee

participated or acquiesced in the transferor's fraudulent design." 13 Romualdo P. Eclavea,

Carmody-Wait 2d New York Practice with Forms §§ 85-29 & 85-30 (2002) (emphasis added);

Berlenbach v. Bischoff, 137 Misc. 719, 244 N.Y.S. 369, 371 (N.Y.Sup.Ct. Spec. Term 1930).

There is no dispute that Defendants participated in the Go-Private transaction. On these facts,

the Opposition raises no issue of material fact to prevent summary judgment.

                             Fraudulent Intent Established Under Badges of Fraud

         46.      The purpose of 11 USC §548, is to “set aside transactions that ‘unfairly or

improperly deplete a debtor’s assets so that the assets may be made available to creditors. Geltzer

v. Xavarian High Sch. (in re Akanmu), 502 B.R. 124, 130 (Bankr. E.D.N.Y. 2013) quoting Togut

v. RBC Dain Correspondent Servs. (In re S.W.Bach Co.,), 435 B.R. 866, 875 (Bankr. S.D.N.Y.

2010). Under the NYDCL § 276, the inquiry focuses on the circumstances or badges of fraud

that suggest a conveyance was made with fraudulent intent, viz., with the purpose of placing a

debtor's assets out of the reach of creditors. See Tronox Inc. v. Kerr McGee Corp., (In re Tronox


8
  A claim for fraudulent transfer may be alleged on collapsing a series of transactions where the transactions, taken
as a whole, diminish the value of the debtor’s estate and are marked by either a transfer made by the debtor for less
than fair consideration or made by the debtor with fraudulent intent, and the party from whom the recovery is sought
had actual of constructive knowledge of the entire scheme that renders the transfer fraudulent. Silverman v.
K.E.R.U. Realty Corp. (In re Allou Distribs.), 379 B.R. 5, 34 (Bankr. E.D.N.Y. 2007). See Dkt. No. 38, JSOF 14.
(Defendant Petrozza met with Parmar and the Board of Directors and approved the Go-Private Transaction so they
could all make a gazillion dollars.)

DOCS_LA:342816.4 65004/003                               23
       Case 8-20-08052-ast             Doc 56        Filed 03/29/22         Entered 03/29/22 21:42:31




Inc.) 503 B.R. 239, 282-283 (S.D.N.Y, 2013)9

                             The Lack Or Inadequacy Of Consideration

         47.      The Opposition claims that a “promise to repay” is consideration under 11 U.S.C

§ 548(a) and NYDCL §276. The single case cited in the Opposition is not a fraudulent

conveyance claim under either of the statutory provisions. To the contrary, the law under these

corresponding statutes is clear: "In determining value, the Court makes a two-fold inquiry:

whether the debtor received any value at all in exchange for the transfer, i.e. any realizable

commercial value as a result of the transaction, and second whether that value was in fact

reasonably equivalent. See Devon Mobile Communs. Liquidating Trust v. Adelphia Communs.

Corp. (In re Adelphia Communs. Corp.), No. 02-41729 (CGM), 2006 Bankr. LEXIS 4600, 2006

WL 687153, at *11 (Bankr. S.D.N.Y. Mar. 6, 2006); Togut v. RBC Dain Correspondent Servs.

(In re S.W. Bach & Co.), 435 B.R. 866, 876, (Bankr. S.D.N.Y. 2010) 2010 Bankr. LEXIS 2469,

*24-25, 53 Bankr. Ct. Dec. 148.           It is not disputed by Defendants that the $250,000 Transfer

was made without consideration to the Debtor. (Dkt. No. 38, JSOF 26, 28) The Debtors’ books

and records evidence no antecedent debt satisfied concurrently by the Transfer. (ASOF 57, 58,

60) See William Iselin & Co., Inc. v. Boardwalk Regency Corp., 703 F. Supp. 1084, 1088

(S.D.N.Y. 1989) ("under this section [276], an intent to defraud is assumed where the

conveyance is made without consideration.")




9
  “Inadequacy of consideration, secret or hurried transactions not in the usual mode of doing business, and the use
of dummies or fictitious parties are common examples of "badges of fraud." As was said in the Bentley case, : "No
effort to hinder or delay creditors is more severely condemned by the law than an attempt by a debtor to place his
property where he can still enjoy it and at the same time require his creditors to remain unsatisfied." Gafco, Inc. v.
H. D. S. Mercantile Corp., 47 Misc. 2d 661, 664, 263 N.Y.S. 2d 109 (NY Sup. Ct 1965).


DOCS_LA:342816.4 65004/003                                24
       Case 8-20-08052-ast            Doc 56    Filed 03/29/22    Entered 03/29/22 21:42:31




                             The Family, Friendship or Close Associate Relationship between the
Parties

          48.    The Opposition claims Parmar and Petrozza’s close personal friendships is

irrelevant. Case law recognizes only a “close familial relationship”. (Opp., Dkt. No. 45, §78)

The assertion is wrong. See Bruno Mach. Corp. v. Troy Die Cutting Co. (In re Bruno Mach.

Corp.), 435 B.R. 819, 833-34 (Bankr. NDNY 2010) (In light of these facts, the court concludes

the element met as the closeness of that relationship is underscored by the longtime friendship

between the heads of the two companies. Chorbajian and Bruno were close personal friends) Id.

at 834. It is undisputed before the Court, in 2015 and 2016, Petrozza thought of Mr. Parmar as a

very close friend who socialized at Mr. Parmar’s residence. (See Dkt. No. 38, JSOF 4) The

second elements is met.

                             The Retention Of Possession, Benefit Or Use Of The Property In Question

          49.    The Opposition claims that though Defendants deposited the Transfer in their

bank account, they really did not retain the funds “as that deal fell through”. (Opp., Dkt. No. 45,

§79) The Opposition misstates the facts as Petrozza swears under penalty of perjury that he used

the funds: “Unfortunately, the lease of the Florida property fell through but I was able to lease

another property instead.” (Aff. of Pertozza, Dkt. No. 47, §8) “When the funds were no longer

needed, I advised Basich to return the funds…”. (Aff. of Pertozza, Dkt. No. 47, §9) The third

element is established.

                    The Financial Condition Of The Party Sought To Be Charged Both Before
And After The Transaction In Question

          50.    The Opposition claims that though Defendants had the same financial condition

before and after the Transfer. (Opp., Dkt. No. 45, §80) Once again, the Opposition misstates the

facts. It is not disputed, Petrozza claims that at the time of the Transfer he was struggling for

cash and with no liquidity. (Dkt. No. 38, JSOF 30) Parmar similarly could not pay his bills.

DOCS_LA:342816.4 65004/003                          25
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




(Dkt. No. 38, JSOF 29) The Debtor was struggling for cash borrowing 130MM from BOFA on

January 31, 2017. (Dkt. No. 38; ASOF 51) The motive was present for the creation of the

Transfer, a transaction which was clearly outside the ordinary course of business of the Debtor

and within the control of Parmar (Dkt. No. 38: JSOF 26; ASOF 57, 58, 60) The Transfer

resulted in Debtors’ funds being transferred beyond the reach of legitimate creditors of the

Debtor. (Dkt. No. 38: JSOF 28;ASOF 60) The Motion established this badge of fraud as well.

                      The Existence Or Cumulative Effect Of A Pattern Or Series Of
Transactions Or Course Of Conduct After The Incurring Of Debt, Onset Of Financial
Difficulties, Or Pendency Or Threat Of Suits By Creditors; And The General Chronology Of The
Events And Transactions Under Inquiry.

        51.      The Opposition assets the loan is a single transaction (Opp., Dkt. No. 45, §81),

when earlier in the Opposition Defendants claim it was really three transactions. (Opp., Dkt.

No. 45, §54) As the Court is aware, and as memorialized in the IOLA Account, the FBI stepped

in on March 15, 2017, and seized $20,100,356.70 from the IOLA account. (Aff. of J. Nolan, Dkt.

No. 39, Ex. 3) The Transfer occurred on May 25, 2017, two months later. (Dkt. No. 38, ASOF

53, 55) The Transfer was preceded by a desperate email from Parmar to take the funds from any

account and move them to his personal friend who moved monies 35 days later to Sunshine Star,

LLC. Sunshine Star, LLC took the funds and promptly closed the bank account. (Dkt. No. 38,

ASOF 59) The facts suggest a series of transactions deliberately designed to obfuscate.

        52.      Where certain "badges of fraud" are present, an actual intent to hinder, delay or

defraud either present or future creditors under section 276 of the NYDCL is presumed. Geltzer

v. Artists Mktg. Corp. (In re Cassandra Group), 338 B.R. 583, 598 (Bankr. S.D.N.Y. 2006)

(emphasis added). The undisputed facts establish each and all of the badges of fraud.




DOCS_LA:342816.4 65004/003                        26
       Case 8-20-08052-ast           Doc 56       Filed 03/29/22       Entered 03/29/22 21:42:31




        NYDCL § 273-a, Expressly Prohibits the Transfer of Monies to Third Parties For
        No Consideration To The Estate When Lawsuits and Judgments Against the
        Debtors Are Pending

        53.      The Opposition contends that judgments against Orion Healthcorp., Inc., and

Constellation Healthcare Technologies, Inc., each which they admit remain unsatisfied as of the

petition date and were pending prior to the Transfer, is insufficient to invoke NYDCL §273-a.

The Opposition claims that Plaintiff must put forth a judgment or lawsuit against each of the 22

separate creditors. (Opp., Dkt. No. 45, §31) The Opposition cites to no legal authority to

support its position.

        54.      To prevail on a claim under NYDCL §273-a, a plaintiff must establish that (1) the

conveyance was made without fair consideration; (2) the conveyor was, at the time of the

conveyance, "a defendant in an action for money damages" or "a judgment in such an action has

been docketed against him"; and (3) the conveyor has "failed to satisfy the judgment." NYDCL

§ 273-a. See Grace v. Bank Leumi Trust Co., 443 F.3d 180, 188-89 (2d Cir. 2006); The purpose

of § 273-a is to provide a remedy for a creditor who has brought an action for money damages

against a party who, after being named a defendant in that action, conveys assets to a third party

for less than fair consideration leaving the ultimate judgment unpaid. Lyman Commerce

Solutions, Inc. v. Lung, 2015 U.S. Dist. LEXIS 51447, 18 (S.D.N.Y, 2015) citing to NYDCL

§ 273-a (McKinney 2002). It is an undisputed fact, that the Debtors Constellation Healthcare

Technologies, Inc. and Orion Healthcorp. Inc. transferred millions of dollars directly from each

respective debtor bank account to the IOLA Account.10 (Dkt. No. 38, ASOF 36-39) Once a

trustee establishes that a transfer was made from a debtor-owned account over which the debtor




10
  Constellation Healthcare Technologies, Inc. was the holding company for Orion Healthcorp, Inc. which owned
and operated the remaining Debtors. See Case No. 8-18-71748-ast, Dkt. No. 2; Dec. of T. Drogelin in Support of
Chapter 11 Petitions and First Day Motions, Ex. A, Corporate Organizational Chart.

DOCS_LA:342816.4 65004/003                             27
       Case 8-20-08052-ast      Doc 56     Filed 03/29/22     Entered 03/29/22 21:42:31




normally exercises control, the trustee "makes a preliminary showing of an avoidable transfer 'of

an interest of the debtor'. FBI Wind Down Inc. Liquidating Trust v. All Am. Poly Corp. (In re

FBI Wind Down, Inc.), 581 B.R. 116, 130 (Bankr. DE, 2018). This presumption holds even in

cases where the account contains commingled funds. Id. It is an undisputed fact that a judgment

existed against the Debtor Orion Healthcorp. prior to the Transfer. (Dkt. No. 38, JSOF 31) It is

an undisputed fact that a lawsuit was filed, against the Debtors, Constellation Healthcare

Technologies, Inc. and Physicians Practice Plus, LLC prior to the Transfer which judgment was

entered on November 30, 2017. (Dkt. No. 38, JSOF 32,33) Clearly, the funds transferred to the

Defendants for no consideration on May 25, 2017, could have been paid to satisfy the

lawsuits/judgments owed by Orion Healthcorp. Inc., Constellation Healthcare Technologies, Inc.

Instead, their legitimate claims went unpaid while Defendants, with no colorable claim for

receiving funds, were paid.




DOCS_LA:342816.4 65004/003                      28
       Case 8-20-08052-ast        Doc 56     Filed 03/29/22    Entered 03/29/22 21:42:31




                                                 II.

                                          CONCLUSION

        55.      For the reasons submitted in the Motion and herein, the Motion is ripe for

determination without further delay.




 Dated: March 29, 2021                        Respectfully submitted,

                                             PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/Jeffrey P. Nolan
                                             Ilan D. Scharf, Esq.
                                             Jeffrey P. Nolan, Esq. (admitted pro hac vice)
                                             PACHULSKI STANG ZIEHL & JONES LLP
                                             780 Third Avenue, 34th Floor
                                             New York, New York 10017
                                             Telephone: (212) 561-7700
                                             Facsimile:      (212) 561-7777

                                             Counsel for Plaintiff, Howard M. Ehrenberg in his
                                             capacity as the Liquidating Trustee of Orion
                                             Healthcorp, Inc., et al.




DOCS_LA:342816.4 65004/003                       29
